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 1   DANIEL J. BRODERICK
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     BRIAN ARMENTA
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,      )     Case No. CR.S-07-249-LKK
                                    )
10                    Plaintiff,    )
                                    )     STIPULATION AND ORDER
11             v.                   )     REQUESTING CONTINUANCE OF
                                    )     STATUS CONFERENCE AND
12   BRIAN ARMENTA and DAVID        )     EXCLUSION OF TIME; ORDER
     GUERRERO,                      )
13                                  )     Date: August 5, 2008
                      Defendants.   )     Time: 9:30 a.m.
14                                  )     Judge: Lawrence K. Karlton
     ____________________________
15
16         IT IS HEREBY STIPULATED by and between the parties hereto
17   through their respective counsel, JASON HITT, Assistant United States
18   Attorney, attorney for Plaintiff, RACHELLE BARBOUR, Assistant Federal
19   Defender, attorney for Defendant BRIAN ARMENTA, and DAN DAVIS, esq.,
20   attorney for Defendant DAVID GUERRERO that the current status
21   conference date of June 17, 2008 be continued to August 5, 2008 at 9:30
22   a.m., and that time be excluded for preparation of defense counsel.
23        Defense counsel are currently reviewing the discovery in this
24   case, conducting investigation, and discussing plea options with the
25   government.    They need additional time to discuss the case with their
26   clients and the prosecutor.
27        Accordingly, the parties request that the Court exclude the time
28   from the filing of this stipulation through August 5, 2008 at 9:30
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 1   a.m., under 18 U.S.C. § 3161(h)(8)(B)(iv) and local code T4 (reasonable
 2   time to prepare).      The parties agree that the ends of justice to be
 3   served by a continuance outweigh the best interests of the public and
 4   the defendant in a speedy trial.
 5                                                   Respectfully submitted,
                                                     DANIEL J. BRODERICK
 6                                                   Federal Defender
 7
 8   DATED:      June 16, 2008                       /s/ RACHELLE BARBOUR
                                                     RACHELLE BARBOUR
 9                                                   Assistant Federal Defender
                                                     Attorney for BRIAN ARMENTA
10
11   DATED:      June 16, 2008                       /s/ RACHELLE BARBOUR
                                                     DAN DAVIS
12                                                   Attorney for DAVID GUERRERO
13                                                   McGREGOR SCOTT
                                                     United States Attorney
14
15
     DATED: June 16, 2008                           /s/ RACHELLE BARBOUR for
16                                                  JASON HITT
                                                    Assistant U.S. Attorney
17                                                  Attorney for Plaintiff
18                                        O R D E R
19        IT IS SO ORDERED.
20
21   DATED: June 16, 2008
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